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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEPHON JOHNSON
Apartment K

215 South MacDade Blvd.
Glenolden, PA 19036-2029

vs.

TOWNSHIP OF DARBY : Ciwzwil AGtion No.
21 Bartram Avenue :
Glenolden, PA 19036

and
DEPUTY CHIEF OF POLICE CORY COOPER :
Individually and as a police officer : JURY TRIAL DEMANDED

for the Township of Darby
c/o Township of Darby Police Dept.
21 Bartram Avenue
Glenolden, PA 19036

and
POLICE OFFICER STEVEN O’ HARA
Individually and as a police officer
for the Township of Darby
c/o Township of Darby Police Dept.
21 Bartram Avenue
Glenolden, PA 19036

COMPLAINT
Jurisdiction
1. This action is brought pursuant to 42 U.S.C. § LOSS +.
Jurisdiction is based upon 28 U.S.C. ee 1331 amd 1343 (1), (3), (4)
and the aforementioned statutory provision. Plaintaftt fuythex
invokes the supplemental jurisdiction of this Court pursuant to 28
U.S.C. § 1367(a) to hear and adjudicate state law claims.
Parties
2. Plaintiff, Stephon Johnson, is an adult individual who

resides at 215 South MacDade Blvd., Apartment K, Glenolden,
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Pennsylvania 19036 and at all times relevant to this action was
present in Darby Township, Pennsylvania.

3. Defendant, Township of Darby, is a municipal corporation
of the Commonwealth of Pennsylvania organized and existing under
the laws of the Commonwealth of Pennsylvania and owns, operates,
manages, directs and controls the Township of Darby Police
Department which employs Defendant, Deputy Chief Cory Cooper, and
Defendant, Police Officer Steven O’Hara.

4. Defendant, Township of Darby, at all times relevant to
this Complaint, was responsible for the training and actions of all
its police employees, and authorizes and supports their actions
under color of state law, pursuant to either official policy,
custom or practice of the Township of Darby.

5. Defendant, Deputy Chief Cory Cooper, is a police officer
for the Township of Darby Police Department who at all relevant
times was acting under color of state law. The Defendant officer
is being sued in his individual capacity.

6. Defendant, Police Officer Steven O’Hara, was and is at all
times relevant hereto employed by the Township of Darby Police
Department as a police officer for the Township of Darby Police
Department acting under color of state law and within the course
and scope of his employment with the Township of Darby Police

Department. The Defendant officer is being sued in his individual

cCapacLly :

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7. At all relevant times, all Defendants were acting in
concert and conspiracy and their actions deprived Plaintiff,
Stephon Johnson, of his constitutional and statutory rights as
hereinafter described.

Factual Allegations

8. On or about June 22, 2020 at approximately 9:00 p.m.
Plaintiff, Stephon Johnson, was lawfully operating his vehicle on
Hook Road in the Township of Darby. He noticed that he was being
followed by a Township of Darby Police Department vehicle. After
being followed for approximately 2 to 3 minutes, the Darby Township
police vehicle activated its overhead lights and Plaintiff
immediately pulled to the side of the road.

9. Plaintiff was approached by Defendant, Police Officer
Steven O’Hara. Officer O’Hara requested Plaintiff’s license,
registration and insurance card. Plaintiff immediately complied
with Officer O’Hara’s request.

10. Officer O’Hara took Plaintiff’s credentials to his police
car and after several minutes returned to Plaintiff’s vehicle.

11. When Officer O’Hara returned to Plaintiff's vehicle, he
ordered Plaintiff to step out of his car. Although Plaintiff asked
why he was being ordered out of the car, he complied with Officer
O’Hara’s request.

12. Plaintiff asked Officer Hara if he could record the

encounter and Officer Hara told him he was not permitted.
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13. Plaintiff asked Officer O’Hara for his name and badge
number and Officer O’Hara refused to provide that information.

14. Without reasonable suspicion that Plaintiff was armed or
carrying any contraband, Officer O’Hara then conducted an illegal
pat down of Plaintiff’s body.

15. Without reasonable suspicion, much less probable cause
that Plaintiff had committed any crime, Officer O’Hara then placed
Plaintiff in handcuffs, searched him and asked for Plaintiff's
consent to search his vehicle. Plaintiff did not give consent for
Officer O’Hara to search his vehicle.

16. Without probable cause, Officer O’Hara nevertheless
searched Plaintiff’s vehicle including searching the trunk of the
vehicle.

17. Officer O’Hara found no contraband neither during his
unconstitutional search of the Plaintiff nor during his
unconstitutional search of Plaintiff’s vehicle.

18. Plaintiff was kept in handcuffs for approximately 45
minutes while Officer O’Hara conducted his unlawful search of
Plaintiff’s vehicle.

19. When Officer O’Hara completed the unlawful search, he
removed the handcuffs and sarcastically said to Plaintiff “Are you
going to protest me,” referring to the recent peaceful protests
which had been going on since the police killing of George Floyd.

20. Later that day, Plaintiff went to the Township of Darby
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Police Department to make a citizen’s complaint and to try to
ascertain the identity of Officer O’Hara.

21. He was met by Deputy Chief of Police Cory Cooper.

22. Plaintiff explained to Defendant Cooper his earlier
encounter with Officer O’Hara, as described hereinbefore.

23. Defendant Cooper briefly left and when he returned he
falsely told Plaintiff that there was no record of any Township of
Darby police officer having any interaction with him that day.

24. Defendant Cooper also falsely told Plaintiff that there
was no way to ascertain the name of the officer who had illegally
detained him and searched his vehicle.

25. Upon information and belief, Defendant Cooper could have
easily gotten the name of the officer who had detained Plaintiff by
utilizing the police department’s GPS data to determine which
police car had been used in detaining Plaintiff.

26. The identity of the officer could also have been
discovered by reviewing patrol activity logs.

27. Rather than utilizing means at his disposal to discover
the identity of Officer O’Hara, Defendant Cooper consciously
decided to withhold that information from Plaintiff im ofaer To
prevent Plaintiff from learning the identity of Officer O’ Hara.

28. Defendant Cooper withheld the identity of Officer O’Hara
with the intention of preventing Plaintiff from exercising his

First Amendment right to access of the courts. More specifically,
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Defendant Cooper was actively trying to prevent Plaintiff from
being able to seek redress in the courts for the illegal and
unconstitutional conduct of Officer O’ Hara.

29. As a direct and proximate result of the actions of
Defendant, Officer Steven O’Hara, Plaintiff, Stephon Johnson,
suffered and continues to suffer physical and psychological harm,
pain and suffering, some or all of which may be permanent as well
as financial losses.

30. The actions taken by Defendant, Police Officer Steven
O'Hara, in this matter were taken under color of state law.

31. The conduct of Defendant, Police Officer Steven O’Hara,
violated Plaintiff’s rights guaranteed by the First and Fourth
Amendments of the United States Constitution and in particular
Plaintiff was deprived of his right to freedom of speech, to be
free from unlawful search and seizure and to be secure in his
person and property. Plaintiff was similarly deprived of the right
not to be the victim of conspiracies of state actors to violate Ene
aforementioned clearly established rights.

32). Defendant, Township of Darby, has encouraged, tolerated,
ratified and has been deliberately indifferent to the following
patterns, practices and customs and to the need for more or
different training, supervision, investigation or discipline in. the
areas of:

a. The use of unlawful search and seizure, and depriving
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citizens such as Plaintiff of their right to freedom
of speech by police officers;

b. The proper exercise of police powers, including
but not limited to the unlawful search and seizure,
and violations of citizens’ free speech rights,
particularly in connection with perceived challenges
to police authority;

c. The monitoring of officers whom it knew or
should have known were suffering from emotional
and/or psychological problems that impaired
their ability to function as officers;

d. The failure to identify and take remedial or
disciplinary action against police officers who
were the subject of prior civilian or internal
complaints of misconduct;

e. Police officers’ use of their status as police
officers to employ the use of unlawful search and
seizure or to achieve ends not reasonably related to
their police duties; and

f. The failure of police officers to follow established
policies, procedures, directives and instructions
when conducting a search and seizure and arrest

powers under such circumstances as presented herein.
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FIRST CAUSE OF ACTION
FEDERAL CIVIL RIGHTS VIOLATIONS

33. Plaintiff, Stephon Johnson, incorporates by reference
paragraphs 1 through 32 of the instant Complaint.

34. As a direct and proximate result of Defendants’ conduct,
committed under state law, Plaintiff, Stephon Johnson, was deprived
of his right to freedom of speech, to be free from an unlawful
search and seizure and to be secure in his person and property. As
a result, Plaintiff, Stephon Johnson, suffered and continues to
suffer harm in violation of his rights under the laws and
Constitution of the United States, in particular, the First and
Fourth Amendments thereof, and 42 U.S.C. § 1983.

35. As a direct and proximate result of the acts one
Defendants, Plaintiff, Stephon Johnson, sustained emotional harm,
loss of liberty and financial losses, all to his detriment and
harm.

36. The Township of Darby failed to properly sanction or
discipline officers, who are aware of and conceal and/or aid and
abet violations of constitutional rights of citizens by other
Township of Darby police officers, thereby causing and encouraging
Township of Darby Police Department, including the Defendant
officer in this case, to violate the rights Of Gitizens such as
Plaintiff, Stephon Johnson.

37. Defendants have by the above described actions deprived

Plaintiff, Stephon Johnson, of rights secured by the First and
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Fourth Amendments to the United States Constitution in Tiolation of
42 U.8sCe § 1983s

SECOND CAUSE OF ACTION
SUPPLEMENTAL STATE CLAIMS

38. Plaintiff, Stephon Johnson, incorporates by reference
paragraphs 1 through 37 of the instant Complaint.

39. The acts and conduct of the Defendants in this cause of
action constitute false arrest, false imprisonment and intentional
infliction of emotional distress under the laws of the Commonwealth
of Pennsylvania, and this Court has supplemental jurisdiction to
hear and adjudicate this claims.

WHEREFORE, Plaintiff, Stephon Johnson, requests the following

relief:
a. Compensatory damages;
b. Punitive damages;
c. Reasonable attorney’s fees and costs;

d. Such other and further relief as appears
reasonable and just; and

e. A jury trial as to each Defendant and as to

each count.
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